PEUY5RFKKTY5USSR3AKDEFKVLA GUIDWHITEFONT Z587




                                                PROGRESSIVE CLAIMS
Form_SCTNID_CTGRY.XX0108Z587_LETTER




PEUY5RFKKTY5USSR3AKDEFKVLA GUIDWHITEFONT Z587


                                                901 NORTH LAKE DESTINY ROAD
                                                SUITE 200
                                                MAITLAND, FL 32751
                                                                                                                                                      PROGRESSIVE®

                                                                                                                                                 Underwritten By:
                                                                                                                                                 Progressive Select Insurance
                                                                                                                                                 Company
                                                PAUL & PERKINS                                                                                       Claim Number: XX-XXXXXXX
                                                PAUL C PERKINS JR ESQ                                                                                Loss Date:     October 1, 2018
                                                711 N ORLANDO AVE                                                                                    Document Date: December 14, 2018
                                                SUITE 202                                                                                            Page 1 of 1
                                                MAITLAND, FL 32751

                                                                                                                                                 claims.progressive.com
                                                                                                                                                     Track the status and details of your claim,
                                                                                                                                                     e-mail your representative or report a
                                                                                                                                                     new claim.


                                                               Claim Information
                                                               NAMED INSURED: Angela Seda
                                                               YOUR CLIENT: James Spalding


                                                               Dear Mr. Perkins, Esquire,
                                                               Our records show that the above captioned claim was settled on 10/22/2018 at which time a proposed release and draft
                                                               were forwarded to your office. To date, I have not received the executed release back in my office. Please forward same to
                                                               my attention as soon as possible so that I may close my file in regards to this matter.
                                                               Thank you for your cooperation and if you have any questions or wish to discuss this claim in further detail, please do not
                                                               hesitate to contact me.
                                                               Sincerely,

                                                               JASON GRAY
                                                               Claims Department
                                                               1-407-618-8702
                                                               1-800-PROGRESSIVE (1-800-776-4737)
                                                               Fax: 1-407-618-8836
                                                               Form Z587 XX (01/08) FL




                                                                                                                                                                            Exhibit K

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